CM/ECF-GA Northern District Court                                 https://gand-ecf.sso.dcn/cgi-bin/GANDc_mkmin.pl?117164683924631-...
                      Case 1:20-cr-00481-SCJ-RDC Document 119 Filed 04/28/22 Page 1 of 1




                                 UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF GEORGIA
                                       ATLANTA DIVISION
                                                 1:20-cr-00481-SCJ-RDC
                                                   USA v. Cofield et al
                                                Honorable Regina D Cannon

                                Minute Sheet for proceedings held In Open Court on 04/28/2022.


              TIME COURT COMMENCED: 10:40 A.M.
              TIME COURT CONCLUDED: 10:49 A.M.                   TAPE NUMBER: AT&T
              TIME IN COURT: 00:09                               DEPUTY CLERK: Phyllis Brannon
              OFFICE LOCATION: Atlanta

         DEFENDANT(S):               [1]Arthur Lee Cofield NOT Present at proceedings
                                     [2]Eldridge Maurice Bennett NOT Present at proceedings
         ATTORNEY(S)                Irina Dutcher representing USA
         PRESENT:                   Drew Findling representing Arthur Lee Cofield
                                    Steven Sadow representing Arthur Lee Cofield
                                    Dwight Thomas representing Eldridge Maurice Bennett
         PROCEEDING
                                    Pretrial Conference;
         CATEGORY:
         MOTIONS RULED
                                    DFT#2-[76]Motion to Sever Defendant TAKEN UNDER ADVISEMENT
         ON:
         MINUTE TEXT:               The Pretrial Conference as to Arthur Lee Cofield and Eldridge
                                    Maurice Bennett recommenced. An Evidentiary Hearing is set for July
                                    7, 2022 at 10:00 a.m. in Courtroom 1879, as to Defendant Cofield's
                                    Motion to Suppress [Doc. 79]. An Evidentiary Hearing is set for
                                    July 8, 2022 at 10:00 a.m. in Courtroom 1879, as to Defendant
                                    Bennett's Motion to Suppress [Doc. 77]. The Motion to Sever
                                    Defendant [Doc. 76] is TAKEN UNDER ADVISEMENT.




1 of 1                                                                                                            5/2/2022, 10:25 AM
